Case 3:18-mc-80132-JSC Document 17-5 Filed 09/07/18 Page 1 of 3




            EXHIBIT D
      Case 3:18-mc-80132-JSC Document 17-5 Filed 09/07/18 Page 2 of 3
                                              EFiled: Jul 16 2018 04:00PM EDT
                                              Filing ID 62242974
                                              Case Number 281,2018
      IN THE SUPREME COURT OF THE STATE OF DELAWARE




KT4 PARTNERS LLC,

           Plaintiff Below,          No. 281, 2018
           Appellant,
                                     On Appeal from the Court of Chancery
     v.                              of the State of Delaware in C.A. No.
                                     2017-0177-JRS
PALANTIR TECHNOLOGIES, INC.,

           Defendant Below,
           Appellee.



                       APPELLANT’S OPENING BRIEF




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       Case 3:18-mc-80132-JSC Document 17-5 Filed 09/07/18 Page 3 of 3




discretion in light of “case-specific factors.” United Techs., 109 A.3d at 554, 560.

This Court has identified several such factors: (a) whether the stockholder has a

“legitimate reason” for filing suit outside Delaware; (b) whether the corporation’s

bylaws have a forum selection clause; and (c) whether “there has been . . . prior

litigation in” Delaware over the subject of inspection. Id at 560-61.

      The Court of Chancery erred by imposing the Jurisdictional Limitation

without analyzing these, or any other, case-specific factors, all of which cut against

the Jurisdictional Limitation and in favor of KT4’s proposed provision.

      KT4 is investigating claims for breach of contract and other potential

common-law claims,10 and KT4 must be able to bring these claims in a court that

has jurisdiction over all potential defendants.11 For example, KT4 is investigating

whether the Founders’ secret sales of over 100 million shares of common stock

violated the FRCSA. In any breach-of-contract claim arising out of that conduct,

both Palantir and the Founders presumably would be necessary parties to the suit:

both Palantir and the Founders are parties to the FRSCA, and a judgment would

determine “their responsibilities and duties” as such. Heritage Homes of De La

Warr, Inc. v. Alexander, 2005 WL 2173992, at *2 n.6 (Del. Ch. Sept. 1, 2005)

10
  KT4 also is investigating fraud claims against Palantir and its Founders for
misrepresentations and omissions concerning KT4’s rights under the FRCSA or
the IRA. KT4’s investigation is ongoing.
11
  Potential defendants may include Palantir, its officers and directors, the
Founders, any joint tortfeasors, and others bound by the FRCSA.
                                         30
